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                                     UNITED STATES BANKRUPTCY COURT
                                                            Northern District of Indiana
                                                               Fort Wayne Division
In Re: Debtor(s) (name(s) and address)
Betty Jo Schaefer
xxx−xx−6621
15333 Towne Gardens Ct                                                    Case Number: 18−10519−reg
Huntertown, IN 46748




                                                                         Chapter: 7




                              NOTICE OF NEED TO FILE PROOF OF CLAIM
                                   DUE TO RECOVERY OF ASSETS
NOTICE IS GIVEN THAT:

   The initial notice in this case instructed creditors that it was not necessary to file a proof of claim. Since that
notice was sent, assets have been recovered by the trustee.

  Creditors who wish to share in any distribution of funds must file a proof of claim with the Clerk of the
Bankruptcy Court at the address below on or before:

            Date: January 30, 2019

    Last day to file claims for governmental units is:

            Date: January 30, 2019

   Creditors who do not file a proof of claim on or before this date might not share in any distribution from the
debtor's estate.

    A Proof of Claim form ("Official Form B410") can be obtained at the United States Courts Web Site:
(http://www.uscourts.gov/FormsAndFees/Forms/BankruptcyForms.aspx) or at any bankruptcy clerk's office. It may
be filed by regular mail. To receive acknowledgment of your filing, you may either enclose a stamped
self−addressed envelope and a copy of this proof of claim or you may access the court's PACER system
(www.pacer.psc.uscourts.gov) to view your filed proof of claim.

   There is no fee for filing the proof of claim.

   Any creditor who has filed a proof of claim already need not file another proof of claim.


                          Address of the Bankruptcy Court                               Christopher M. DeToro
                       OFFICE OF THE CLERK                                              ______________________________________
                     U.S. BANKRUPTCY COURT                                              Clerk, United States Bankruptcy Court
                   1300 SOUTH HARRISON STREET
                        FORT WAYNE, IN 46802

    Dated: October 30, 2018 .
                                                                                                                 Document No. 26
